                                                 Case 18-71768-pmb                  Doc 56   Filed 07/29/19 Entered 07/29/19 17:22:48                                       Desc
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                                                                     Individual Estate Property Record and Report
                                                                                      Asset Cases
Case No.:    18-71768-PMB                                                                                                                 Trustee Name:        (300320) S. Gregory Hays
Case Name:       CLOUD, EARL E.III                                                                                                        Date Filed (f) or Converted (c): 12/30/2018 (f)
                                                                                                                                          § 341(a) Meeting Date:       02/05/2019
For Period Ending:      06/30/2019                                                                                                        Claims Bar Date: 08/05/2019

                                                      1                                           2                              3                            4                      5                          6

                                              Asset Description                                Petition/                 Estimated Net Value           Property Formally         Sale/Funds                Asset Fully
                                   (Scheduled And Unscheduled (u) Property)                  Unscheduled            (Value Determined By Trustee,         Abandoned            Received by the          Administered (FA)/
                                                                                                Values                 Less Liens, Exemptions,        OA=§554(a) abandon.          Estate                Gross Value of
  Ref. #                                                                                                                   and Other Costs)                                                             Remaining Assets

    1       24 Leslie Street NE, Atlanta, GA 3030T-0000, Fulton County                                350,000.00                         34,296.88                                               0.00               430,000.00
            Trustee value based on appraisal.

    2       208 Buchannan Terrace, Decatur, GA 30030-0000, DeKalb County                              375,000.00                         65,219.81                                               0.00               440,000.00
            Trustee value based on appraisal.

    3       2017 Audi A6, 25,000 miles                                                                 45,000.00                         20,436.00                                               0.00                45,000.00
            Leased vehicle per 341 meeting testimony. Entire property value: $45,000.00

    4       Household Furniture                                                                         5,000.00                               0.00                                              0.00                        FA

    5       TV, Computer                                                                                1,000.00                          1,000.00                                               0.00                 1,000.00

    6       Standard Clothing                                                                              500.00                           500.00                                               0.00                  500.00

    7       Wedding Ring                                                                                1,500.00                          1,000.00                                               0.00                 1,500.00

    8       Cash                                                                                           200.00                              0.00                                              0.00                        FA

    9       Checking: Private Bank of Decatur                                                           2,000.00                               0.00                                              0.00                        FA

    10      Checking: Bank of America                                                                       10.00                              0.00                                              0.00                        FA

    11      // V (imported in error)                                                                         0.00                              0.00                                              0.00                        FA

    12      Spagett, LLC (in Chapter 7), 51% ownership                                                       0.00                              0.00                                              0.00                        FA

    13      Southeastern Hospitality, LLC (in Chapter 11), 60% ownership                               Unknown                           Unknown                                                 0.00                        FA

    14      Palidan Hospitality, LLC (in Chapter 11), 100% ownership                                   Unknown                           Unknown                                                 0.00                Unknown

    15      10 Apart, LLC, 100% ownership                                                              Unknown                           Unknown                                                 0.00                Unknown

    16      Next Wavv Consulting, LLC, 333% ownership                                                  Unknown                           Unknown                                                 0.00                Unknown

    17      Money Loaned to Deep End, LLC (in Chapter 7) (u)                                           38,372.20                               0.00                                              0.00                        FA

    18      2018 Federal and Georgia Tax Refunds (u)                                                   Unknown                           Unknown                                                 0.00                Unknown
            Returns not filed.
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                                  (Scheduled And Unscheduled (u) Property)                         Unscheduled          (Value Determined By Trustee,         Abandoned            Received by the          Administered (FA)/
                                                                                                      Values               Less Liens, Exemptions,        OA=§554(a) abandon.          Estate                Gross Value of
  Ref. #                                                                                                                       and Other Costs)                                                             Remaining Assets

    19       2009 Seadoo (u)                                                                                Unknown                          Unknown                                                 0.00               Unknown
             Net value is unknown. May be subject to ACE lien.

    20       2007 Sea Ray Sport Boat (u)                                                                    Unknown                          Unknown                                                 0.00               Unknown
             Net value is unknown. May be subject to ACE lien.

    21       Proof Cocktails, LLC (u)                                                                       Unknown                          Unknown                                                 0.00               Unknown
             Registered with Georgia Secretary of State, September 2018.

    22       Deep End, LLC (Chapter 7) (u)                                                                       0.00                              0.00                                              0.00                        FA

   22        Assets               Totals       (Excluding unknown values)                               $818,582.20                       $122,452.69                                            $0.00              $918,000.00



         Major Activities Affecting Case Closing:
                                        A realtor has visited both real properties and has also obtained appraisals. Trustee believes there is equity in both real properties. Trustee is also
                                        investigating value in certain business where the Debtor has an ownership interest.

         Initial Projected Date Of Final Report (TFR):                       06/30/2021                                  Current Projected Date Of Final Report (TFR):                       06/30/2021


              07/29/2019                                                                                                   /s/S. Gregory Hays

                  Date                                                                                                     S. Gregory Hays
